          Case 2:18-cv-00278-RDP Document 1 Filed 02/20/18 Page 1 of 8                             FILED
                                                                                          2018 Feb-20 PM 12:01
                                                                                          U.S. DISTRICT COURT
                                                                                              N.D. OF ALABAMA




                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

RUTH W. McCALL,

       Plaintiff,
v.                                                CASE NO.:

WELLS FARGO BANK, N.A.,

       Defendant.
                                     /

                    COMPLAINT AND DEMAND FOR JURY TRIAL

          COMES NOW, Plaintiff, Ruth W. McCall, by and through the undersigned

counsel, and sues Defendant, WELLS FARGO BANK, N.A., and in support thereof

respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227

et seq. (“TCPA”).

                                   INTRODUCTION

          1.    The TCPA was enacted to prevent companies like WELLS FARGO

BANK, N.A. from invading American citizen’s privacy and to prevent abusive “robo-

calls.”

          2.    “The TCPA is designed to protect individual consumers from receiving

intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740

(2012).

          3.    “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

*1256 scourge of modern civilization, they wake us up in the morning; they interrupt our

dinner at night; they force the sick and elderly out of bed; they hound us until we want to



                                            1
         Case 2:18-cv-00278-RDP Document 1 Filed 02/20/18 Page 2 of 8




rip the telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings

presumably intended to give telephone subscribers another option: telling the autodialers

to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir.

2014).

         4.       According    to   the   Federal   Communications    Commission      (FCC),

“Unwanted calls and texts are the number one complaint to the FCC.                There are

thousands of complaints to the FCC every month on both telemarketing and robocalls.

The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler

Proposal to Protect and Empower Consumers Against Unwanted Robocalls, Texts to

Wireless       Phones,   Federal    Communications     Commission,      (May    27,   2015),

https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                               JURISDICTION AND VENUE

          5.      Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

violations of the TCPA.

          6.      Subject matter jurisdiction, federal question jurisdiction, for purposes of

this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of

47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).




                                               2
      Case 2:18-cv-00278-RDP Document 1 Filed 02/20/18 Page 3 of 8




       7.      The alleged violations described herein occurred in Jefferson County,

Alabama. Accordingly, venue is appropriate with this Court under 28 U.S.C.

§1391(b)(2), as it is the judicial district in which a substantial part of the events or

omissions giving rise to this action occurred.

                              FACTUAL ALLEGATIONS

       8.      Plaintiff is a natural person, and citizen of the State of Alabama, residing

in Jefferson County, Alabama.

       9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

Cir. 2014).

       10.     Defendant, WELLS FARGO BANK, N.A., is a corporation with its

principal place of business located at 420 Montgomery Street, San Francisco, CA 94163

and which conducts business in the State of Alabama through its registered agent,

Corporation Service Company, Inc. located at 641 South Lawrence Street, Montgomery,

AL 36104.

       11.     WELLS FARGO BANK, N.A. called Plaintiff approximately 1,000 times

in an attempt to collect debts associated with her mortgage and home equity line of credit

accounts.

       12.     Upon information and belief, some or all of the calls WELLS FARGO

BANK, N.A. made to Plaintiff’s cellular telephone number were made using an

“automatic telephone dialing system” which has the capacity to store or produce

telephone numbers to be called, using a random or sequential number generator



                                             3
       Case 2:18-cv-00278-RDP Document 1 Filed 02/20/18 Page 4 of 8




(including but not limited to a predictive dialer) or an artificial or prerecorded voice; and

to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter “autodialer calls”).

Plaintiff will testify that she knew it was an autodialer because an agent told her that the

calls “came from a machine”.

        13.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (205) *** 9219 and was the called party and recipient of Defendant’s calls.

        14.     WELLS FARGO BANK, N.A. placed an exorbitant number of automated

calls to Plaintiff’s cellular telephone (205) *** 9219 in an attempt to collect on a

mortgage and/or home equity line of credit loan.

        15.     The autodialer calls from Defendant came from telephone numbers

including but not limited to (800) 944-4601, and when those numbers are called a pre-

recorded voice or agent answers and identifies the number as belonging to Wells Fargo.

        16.     On at least five (5) occasions since 2011 Plaintiff has instructed WELLS

FARGO BANK, N.A.’s agent(s) to stop calling her cellular telephone. Plaintiff believes

that she is a victim of fraud and that she does not owe WELLS FARGO BANK, N.A.

money. Plaintiff has repeatedly asked WELLS FARGO BANK, N.A.’s agents to “please

stop calling” to collect a debt she does not believe she owes. On one occasion, Plaintiff

spoke to an agent named “Ms. Brown” who advised Plaintiff that the calls would

continue “because they are automatically made by a machine.”

        17.     WELLS FARGO BANK, N.A. has a corporate policy to use an automatic

telephone dialing system or a pre-recorded or artificial voice to individuals just as they

did to Plaintiff’s cellular telephone in this case.



                                                4
        Case 2:18-cv-00278-RDP Document 1 Filed 02/20/18 Page 5 of 8




        18.     WELLS FARGO BANK, N.A. has a corporate policy to use an automatic

telephone dialing system or a pre-recorded or artificial voice, just as they did to the

Plaintiff’s cellular telephone in this case, with no way for the consumer, or WELLS

FARGO BANK, N.A., to remove the number.

        19.     WELLS FARGO BANK, N.A.’s corporate policy is structured so as to

continue to call individuals like Plaintiff, despite these individuals explaining to WELLS

FARGO BANK, N.A. they do not wish to be called.

        20.     WELLS FARGO BANK, N.A. has numerous other federal lawsuits

pending against them alleging similar violations as stated in this Complaint.

        21.     WELLS FARGO BANK, N.A. has numerous complaints against it across

the country asserting that its automatic telephone dialing system continues to call despite

being requested to stop.

        22.     WELLS FARGO BANK, N.A. has had numerous complaints against it

from consumers across the country asking to not be called, however Defendant continues

to call these individuals.

        23.     WELLS FARGO BANK, N.A.’s corporate policy provided no means for

Plaintiff to have Plaintiff’s number removed from WELLS FARGO BANK, N.A.’s call

list.

        24.     WELLS FARGO BANK, N.A. has a corporate policy to harass and abuse

individuals despite actual knowledge the called parties do not wish to be called.

        25.     Not one of WELLS FARGO BANK, N.A.’s telephone calls placed to

Plaintiff were for “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).



                                             5
      Case 2:18-cv-00278-RDP Document 1 Filed 02/20/18 Page 6 of 8




       26.     WELLS FARGO BANK, N.A. willfully and/or knowingly violated the

TCPA with respect to Plaintiff.

       27.     From each and every call placed without express consent by WELLS

FARGO BANK, N.A. to Plaintiff’s cell phone, Plaintiff suffered the injury of invasion

of privacy and the intrusion upon her right of seclusion.

       28.     From each and every call without express consent placed by WELLS

FARGO BANK, N.A. to Plaintiff’s cell phone, Plaintiff suffered the injury of the

occupation of her cellular telephone line and cellular phone by unwelcome calls, making

the phone unavailable for legitimate callers or outgoing calls while the phone was ringing

from WELLS FARGO BANK, N.A.’s call.

       29.     From each and every call placed without express consent by WELLS

FARGO BANK, N.A. to Plaintiff’s cell phone, Plaintiff suffered the injury of

unnecessary expenditure of her time. For calls she answered, the time she spent on the

call was unnecessary as she repeatedly asked for the calls to stop. Even for unanswered

calls, Plaintiff had to waste time to unlock the phone and deal with missed call

notifications and call logs that reflect the unwanted calls. This also impaired the

usefulness of these features of Plaintiff’s cellular phone, which are designed to inform the

user of important missed communications.

       30.     Each and every call placed without express consent by WELLS FARGO

BANK, N.A. to Plaintiff’s cell phone was an injury in the form of a nuisance and

annoyance to the Plaintiff. For calls that were answered, Plaintiff had to go to the

unnecessary trouble of answering them. Even for unanswered calls, Plaintiff had to waste



                                             6
       Case 2:18-cv-00278-RDP Document 1 Filed 02/20/18 Page 7 of 8




time to unlock the phone and deal with missed call notifications and call logs that

reflected the unwanted calls. This also impaired the usefulness of these features of

Plaintiff’s cellular phone, which are designed to inform the user of important missed

communications.

        31.     Each and every call placed without express consent by WELLS FARGO

BANK, N.A. to Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of

Plaintiff’s cell phone’s battery power.

        32.     Each and every call placed without express consent by WELLS FARGO

BANK, N.A. to Plaintiff’s cell phone where a voice message was left which occupied

space in Plaintiff’s phone or network.

        33.     Each and every call placed without express consent by WELLS FARGO

BANK, N.A. to Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff’s

chattel, namely her cellular phone and her cellular phone services.

        34.     As a result of the calls described above, Plaintiff suffered an invasion of

privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety,

nervousness, and aggravation.

                                         COUNT I
                                  (Violation of the TCPA)

        35.     Plaintiff fully incorporates and re-alleges paragraphs 1 through 33 as if

fully set forth herein.

        36.     WELLS FARGO BANK, N.A. willfully violated the TCPA with respect

to Plaintiff, specifically for each of the auto-dialer calls made to Plaintiff’s cellular

telephone after Plaintiff notified that Plaintiff wished for the calls to stop


                                               7
      Case 2:18-cv-00278-RDP Document 1 Filed 02/20/18 Page 8 of 8




       37.     WELLS FARGO BANK, N.A. repeatedly placed non-emergency

telephone calls to Plaintiff’s cellular telephone using an automatic telephone dialing

system or prerecorded or artificial voice without Plaintiff’s prior express consent in

violation of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against for statutory damages, punitive damages, actual damages,

treble damages, enjoinder from further violations of these parts and any other such relief

the court may deem just and proper.

                                              Respectfully submitted,

                                                 /s/ Theodore A. Gulas_____________
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                                             8
